Case 7:20-cr-00495-VB Document 28 Filed 01/11/21 Page 1 of1

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Plaintifi(s), CALENDAR NOTICE
v _ — ofd te $9S_ vs)
VJ (a0

Defendant(s).

 

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PLEASE TAKE NOTICE that the above-captioned case has been setmdeteriertt
re-scheduled for:
———_—————

___ Status conference | ____ Final pretrial conference
____ Telephone conference ___ Jury selection and trial
____ Pre-motion conference ____ Bench trial

___ Settlement conference ____ Suppression hearing
____ Oral argument ____ Plea hearing

___ Bench ruling on motion vane

on 4f - /F- 202/,at JO-WAnN _ in Courtroom 620, United States

Courthouse, 300 Quarropas Street, White Plains, NY 10601. Adjourned from_a-S 72!
See”

All requests for adjournments or extensions of time must be in writing and
filed on ECF as letter-motions, in accordance with paragraph 1(F) of the Court's
Individual Practices. Absent special circumstances, such requests shall be made at
least two business days prior to the scheduled appearance.

pated: (—-f{- DI
White Plains, NY

SO OR ED:

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Vincent L. Briccetti
United States District Judge

 
